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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF DELAWARE

 UCB, INC., UCB MANUFACTURING                         )
 IRELAND LIMITED, UCB PHARMA GMBH,                    )
 and LTS LOHMANN THERAPIE-SYSTEME                     )
 AG,                                                  )
                                                      )
                Plaintiffs.                           )
                                                      )
        v.                                            ) C.A. No. 14-1083 (SLR) (SRF)
                                                      )
 WATSON LABORATORIES, INC. (Nevada)                   )
 and ACTAVIS LABORATORIES UT, INC.                    )
 (f/k/a WATSON LABORATORIES, INC.                     )
 (Delaware),                                          )
                                                      )
                Defendants.                           )

    STIPULATION AND [PROPOSED] ORDER OF DISMISSAL WITH PREJUDICE

                IT IS HEREBY STIPULATED AND AGREED by the parties, subject to the

 approval of the Court, that all claims for infringement of U.S. Patent Nos. 8,246,979 (“the ’979

 Patent”) and 8,246,980 (“the ʼ980 Patent”) based on Defendants’ submission of Abbreviated

 New Drug Application (“ANDA”) No. 206348 to the FDA, and all counter-claims for judgment

 of non-infringement, invalidity and unenforceability of the ʼ979 and ʼ980 Patents are

 DISMISSED WITH PREJUDICE.               This dismissal, however, is made without prejudice to

 Plaintiffs’ ability to assert the ʼ979 Patent, the ʼ980 Patent, or both, for any other ANDA or to

 reassert the ʼ979 Patent, the ʼ980 Patent, or both, if Defendants make a change to the product that

 is the subject of ANDA No. 206348 and that change either requires a new or supplemental

 bioequivalence study or alters the infringement analysis with respect to any claim of the ’979

 Patent, the ʼ980 Patent, or both. Further, this dismissal is without prejudice to Defendants’

 ability to reassert the counterclaims for the respective patent in the event that the ʼ979 Patent, the
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 ʼ980 Patent, or both, is reasserted against them. Each Party is to bear its own costs, expenses,

 and attorneys’ fees with respect to the ’979 and ʼ980 Patents.


 MORRIS, NICHOLS, ARSHT & TUNNELL LLP               YOUNG CONAWAY STARGATT & TAYLOR, LLP

 /s/ Paul Saindon                                   /s/ Robert M. Vrana
 ___________________________________                ______________________________________
 Jack B. Blumenfeld (#1014)                         Melanie Sharp (#2501)
 Maryellen Noreika (#3208)                          James L. Higgins (#5021)
 Paul Saindon (#5110)                               Robert M. Vrana (#5666)
 1201 North Market Street                           Rodney Square
 P.O. Box 1347                                      1000 North King Street
 Wilmington, DE 19899                               Wilmington, DE 19801
 (302) 658-9200                                     (302) 571-6681
 jblumenfeld@mnat.com                               msharp@ycst.com
 mnoreika@mnat.com                                  jhiggins@ycst.com
 psaindon@mnat.com                                  rvrana@ycst.com

 Attorneys for Plaintiffs                           Attorneys for Defendants

 OF COUNSEL:                                        OF COUNSEL:

 George F. Pappas                                   Thomas J. Meloro
 Kevin B. Collins                                   Heather M. Schneider
 Courtney R. Forrest                                Alexandra F. Awai
 David Sneed                                        Michael W. Johnson
 COVINGTON & BURLING LLP                            WILLKIE FARR & GALLAGHER LLP
 One CityCenter                                     787 Seventh Avenue
 850 Tenth Street, NW                               New York, NY 10019
 Washington, DC 20001                               (212) 728-8000
 (202) 662-6000

 Jennifer L. Robbins
 COVINGTON & BURLING LLP
 The New York Times Building
 620 Eighth Avenue
 New York, NY 10018
 (212) 841-1000

 Kathryn S. Garcin
 COVINGTON & BURLING LLP
 9191 Towne Centre Drive, 6th Floor
 San Diego, CA 92122
 (858) 678-1800


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 RICHARDSON & ROSOW LLC
 Peter C. Richardson
 Traci Medford-Rosow
 147 East 37th Street
 New York, NY 10016
 (646) 449-9055

 May 15, 2015

           SO ORDERED this _________ day of May, 2015.


                                                  United States District Judge
 9157426




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